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 8                      UNITED STATES DISTRICT COURT
 9                    CENTRAL DISTRICT OF CALIFORNIA
10                                  WESTERN DIVISION
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12   EVELYN HOWELL MASSEY,                   )   No. 2:19-cv-09626-CJC (JDE)
                                             )
13                     Plaintiff,            )
                                             )   ORDER ACCEPTING REPORT
14                      v.                   )
                                             )   AND RECOMMENDATION OF
15   BIOLA UNIVERSITY, INC., et al.,         )   UNITED STATES MAGISTRATE
                                             )   JUDGE
                                             )
16                     Defendants.           )
                                             )
17                                           )
                                             )
18                                           )
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20         Pursuant to 28 U.S.C. § 636, the Court has reviewed the records on file,

21   including the operative Second Amended Complaint (Dkt. 48, “SAC”) filed by

22   Plaintiff Evelyn Howell Massey (“Plaintiff”), the Motion to Dismiss the SAC

23   (Dkt. 51, “Motion to Dismiss”), the Motion to Strike Portions of the SAC

24   (Dkt. 50, “Motion to Strike”), and the Errata re the Motion to Dismiss (Dkt.

25   52) filed by Defendant Biola University, Inc. (“Biola”), Plaintiff’s Oppositions

26   to the Motions (Dkt. 62, 63), Biola’s Reply Briefs in support of the Motions

27   (Dkt. 65, 66), Plaintiff’s “Response” (Dkt. 68), the Report and

28   Recommendation of the assigned Magistrate Judge (Dkt. 70, “Report”), the
 1   Objections to the Report filed by Plaintiff (Dkt. 75), and Biola’s Response to
 2   Plaintiff’s Objections to the Report (Dkt. 77).
 3         The Court has engaged in a de novo review of those portions of the
 4   Report to which objections have been made. The Court accepts the findings
 5   and recommendation of the magistrate judge.
 6         Therefore, IT IS HEREBY ORDERED that:
 7         1.    The Motion to Dismiss (Dkt. 51) is GRANTED as to all claims
 8               without leave to amend;
 9         2.    The Motion to Strike (Dkt. 54) is deemed moot in light of the
10               ruling above;
11         3.    Plaintiff’s Title IX, Title VI, and First Amendment claims are
12               dismissed with prejudice;
13         4.    Plaintiff’s state law claims (Breach of Contract and alleged
14               violations of Cal. Educ. Code § 94367) are dismissed without
15               prejudice to assertion in state court; and
16         5.    Judgment shall be entered dismissing this action accordingly.
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18   Dated: October 20, 2020
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                                                     CORMAC J. CARNEY
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22                                                     United States District Judge

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